        Case 2:19-cv-00057-UA Document 1 Filed 01/03/19 Page 1 of 10 Page ID #:1
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                                                                                         FILED

          ~        ~~~                  ~         .                            CLERK, U.S. DISTRICT COURT




                                                                                    1/3/19
                                                                             CENTRAL DISTRICT OF CALIFORNIA


                                                                                 CS
                                                                               BY: ___________________ DEPUTY




 ~ ~              ~                   ~~.
                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER
                ~_ ~~
                                       PRISONER/PLAINTIFF,
                                 v.                                      REQUEST TO PROCEED WITHOUT
                                                                        PREPAYMENT OF FILING FEES WITH ,
                                                                           DECLARATION IN SUPPORT
              ~ . "' " +fir a l__ _          DEFENDANT(S).
                                         ---~__


I,~1,~~ • ~'                          ~*~ ,~,.                        ,declare under penalty of perjury, that the following is
true and correct; that I gun the prisoner-plaintiff in the above entitled case; that in support of my request to proceed
without prepayment of fees under 28 U.S.C. Section 1915, I declare that because of my poverty I am unable to pay the
full costs of said proceedings or to give security therefore and that I am entitled to redress.

I further declare under penalty of perjury that the responses which I have made to the questions_ and instructions below are
true, correct and complete.

1. Are you presently employed in prison? ❑Yes              o
    a. Ifthe answer is yes, state the number of hours you work per week and the hourly rate of pay:




    b. State the place of your incarceration                   ~      ~"                                  ~ ~.
       Dave the institution fill out the Certif'~c~#e port~un o this ~pplic~#ion ~ar~d ~ ~h ~ certified copy of your prison
       trust account statement showing trans~ctio~s for t,~e -past six months.

2. Hive you reccived, within the past twelve months, any money from a,ny,ofthe following sources?
   a. Business, profession or form ofself-employment?           Yes ~o
   b. Rent payments, interest or dividends?                   DY~s        o
   c. Pensions, annuities or life uisurance payments?         DYes        o
   d. Gifts or inheritances?                                  DYes        o
   e. Any other income(other than listed above)?              OYes        o
   f. Loans?                                              ~   ❑Yes

    Ifthe answer to any ofthe above is yes, describe such source of money and state the amount received from each
    source during the past twelve(12)months:~;




                 REQUEST TO PROCEED WI?HOUT PREPAYMENT OF FILING FEES WITH DECLARATION IN SUPPORT
CV-60P(Q4/06) :~ ~ ;:~.                                                                                                Page 1 of3
         Case 2:19-cv-00057-UA Document 1 Filed 01/03/19 Page 2 of 10 Page ID #:2


3. Do you own any cash, or do you have money in a checking or savings account? (Include any funds in prison
   accounts, if applicable.) ❑Yes      o

    Ifthe answer is yes, identify each account and separately state the amount of money held in g                     i account for each of
     the six (6) months prior to the date ofthis declazation.




4. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary
   household furnishings and clothing)? ❑Yes             o

    Ifthe answer is yes, describe the property and state it approximate value:



5. In what year did you last file an Income Tax Return? _„_              ,~     ~, ~       ~ `° ~.
    Approximately how much income did your last tax return reflect?              ~,,;,~~~,~:~ ~.~ ~ ~ ;;a~ ~~.         ,~~.

6. List the persons who are dependent upon your for support, state your relationship to those persons, and indicate how
    much you contribute toward their support:
                                                   .:_
          ~~' ~ ~



    I understand that a false statement or answer to any question in this declazation will subject me to penalties for
    perjury. I further understand that perjury is punishable by a term ofimprisonment of up to five(5) years and/or a fine
    of$250,000(18 U.S.C. Sections 1621, 3571).                                                                            '

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                                                                                                                                   r
                               ~~ State                                              County (or City) J                                                    ~


I, ~ ~      ~~ ~~                  ~~ ~~`~a~ ~ ~         ,declare under penalty of perjury that the foregoing is true and correct.



                                                                                                 j
                        ate         _                                             Prisoner/Plauiti (Signature)




                     REQUEST TO PROCEED WITHOUT PREPAYMENT OF FILING FEES WITH DECLARATION IN SUPPORT
CV-60P(04/06)                                                                                                                           Page 2 of3
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', 07/19/2018 11:41:16           Los Angeles County Sheriff's Department   ~   PAGE :   01 OF 06
                             LASD JAIL INFORMATION MGMT SYSTEM (JIMS)                   OTRTASTA
                                                                                        10.02.1.13
                           Case 2:19-cv-00057-UA Document 1 Filed 01/03/19 Page 4 of 10 Page ID #:4


   07/19/2018 11:41:16                                                                  Los Angeles County Sheriffs Department                                         .PAGE :             02 OF 06 ':
                                                                         LASD JAIL INFORMATION MGMT SYSTEM (JIMS)                                                                          OTRTASTA
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  Main ID:                       0002060087                           NAME;              EWELL        ,JOHN         WESLEY                             QOB:            02/25/1957
  ~ACILlTY:                      CJ-5900-R-0039

  ACCOUNT BALANCES TQTAL:                                                         $ 25.59                 CURREPfT;                    $ 25.59         ~IC3LQ:                           $ 0:00



  ff~A~'~                  EiC}C3~IN~ I+1C7     T`f~E                        T~'A~1~#~,C~Tla~d~d ~~~~~l~'~1~}~tit                                     ~'s~At'd ~k~7'tfl~+t AftPl~'              ~A~.,4FJ~~
            _                                              __                                                                                                               __                    __     _
                                                                         POSTING

 01/31/2018 2523553                             475                      Txn Id V744008 Order No VEN RECYCLE VENDCARD                                     ~                1.75                           4.40
                                                                         POSTING
 01/31/2018 ' 2523553                          ' 475                     Txn Id V744015 Order No VEN RECYCLE VENDCARD                                                     2.50                            6.90
                                                                         POSTING
 01/31/2018 '; 2523553                          475                      Txn Id V744969 Order No VEN RECYCLE VENDCARD                                                      1.95                           8.85
                                                                         POSTING
 01/31/2018 2523553                             475                      Txn id V744970 Order No VEN RECYCLE VENDCARD                                                     2.30                           11.15
                                                                         POSTING
i 01/31/2018 2523553                           ` 475                     Txn Id V745545 Order No VEN RECYCLE VENDCARD                                                     2.00                           13.15
                                                                         POSTING
 02/03/2018 2523553                             100                      carmen ewell cdl#C0573689 10/21/18                                                              50.00 :                    63.15
 02/05/2018 2523553                           'SALE                      Txn Id 307908951 Order No 107044 Charge for regular order                                    <62.10>                            1.05
                                                                         107044229
 02/10/2018 2523553                             100                      carmen m ewell cadl c0573689 10212018                                                         200.00                     201.05
 02/12/2018 ' 2523553                          SALE                     Txn Id 307919512 Order No 107054 Charge for regular order                                   <158.45>                        42.60
                                                                        107054780
 02/13/2018 2523553                           ': 100                    Jacques Cain CA DL#C1331068 Exp. 11/14/18                                                       20.00                       62.60
 02/13/2018 2523553                            475                      Txn Id V751815 Order No VEN RECYCLED VENDING CARD                                                 1.75                      64.35
 02/13/2018 2523553                            475                      Txn Id V751939 Order No VEN RECYCLED VENDING CARD                                                 1.80                      66.15
 02/13/2018 ! 2523553                          475                      Txn Id V753287 Order No VEN RECYCLED VENDING CARD                                                 1.80                      67.95
 02/14/2018 ' 2523553                          RTRN                     Txn Id 307924896 Order No 107054 Refund for regular order                                       17.30                       85.25
                                                                      ; 1Q7054780
 02/16/2018 2523553                            100                      DOROTHY OLIVARES CA ID # C6206173 EXP 08/14/2018                                                50.00                       135.25
                                                                                                                                                                           __            _ _      _ __
 02/19/2018 2523553                            SALE                     Txn Id 307930344 Order No 107065 Charge for regular order                                     <64.43>        ~                70.82'
                                                                        107065252
 02/20/2018 ' 2523553                          475                     ~xn Id V757624 Order No VEN RECYCLED VENDING CARD .                                                1.90                      72.72
02/20/2018 2523553                            ' 475                     Txn Id V757634 Order No VEN RECYCLED VENDING CARD                                                2.15                       74.87
02/20/2018 2523553                             475                     Txn Id V757661 Order No VEN RECYCLED VENDING CARD                                                 2.10                       76.97
02/24/2018 2523553                             100                     CARMEN EWELL CA C0573689 EXP 10/21/18                                                          200.00                      276.97
j 02/26/2018 2523553                           SALE                    Txn Id 307940806 Order No 107075 Charge for regular order                                    <129.43>                      147.54
                                                                       107075652
02/27/2018 2523553                             475                     Txn Id V760573 Order No VEN RECYCLED VENDING CARD                                                 1.95                     149.49
03/05/2018 2523553                            I SALE                    Txn Id 307953504 Order No 107088 Charge for regular order                                   <107.73> '                     41.76
                                                                      ' 107088298
03/06/2018 2523553                            :475                     Txn Id V761562 Order No VEN RECYCLED VENDING CARD                                                 2.45                      44.21
03/06/2048 ; 2523553                           475                ' Txn Id V762711 Order No VEN RECYCLED VENDING CARD                                                    1.90                      46.11
03/06/2018 2523553                             475                     Txn Id V762951 Order No VEN RECYCLED VENDING CARD                                                 2.55                      48.66
              Case 2:19-cv-00057-UA Document 1 Filed 01/03/19 Page 5 of 10 Page ID #:5


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                                                            LASD JAIL INFORMATION MGMT SYSTEM (JIMS)                                                                      OTRTASTA
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  ~~~~ ~~:          0002060087                             NAME:            SWELL           ,JOHN        WESLEY                        QOB:              02/25/1957
  FACILITY:         CJ-5900-R-0039

  ACCOU~lT BALANCES TC3TAL:                                             $ 25.59                 CURR~I~T':                $ 25.59      HOLC~                        $ 0 00



  QATE        ~~7t~~£t~ hlJ           ' T'~`~~               T~~~d~,+~~T~~3{~ CI~~S~t~I~T'l~~d                                        ~'~At~ A~T1t~~1,4tU0T '                Ei~~:~d~4~~
  03/06/201.8 ~ 2523553                   475                Txn Id V763240 Order No VEN RECYCLED VENDING CARD                                              2.20                     50.86
  03/10/2018 ' 2523553                    100                CARMEN SWELL CA C0573689 EXP 10/21/18                                                        150.00                   200.86
  03/12/2018 2523553                      SALE               Txn Id 307962895 Order No 107097 Charge for regular order                               <137.34>                        63.52
                    -                                      ' 107097211
 03/13/2018 2523553                       475                Txn Id V765715 Order No VEN RECYCLED VENDING CARD                                              1.80                     65.32
 03/13/2018 2523553                  ' 475                  Txn Id V765717 Order No VEN RECYCLED VENDING CARD                                              2.15                      67.47
 03/19/2018 2523553                       SALE              Txn id 307974932 Order No 107108 Charge for regular order                                    <36.64>                     30.83
                                                            107108938
 03119/2018 ' 2523553                     100               Jacques Cain CA DL#C1331068 Exp. 11/14/18                                                     20.00                      50.83
 03/20/2018 ' 2523553                     475               Txn Id V769252 Order No VEN RECYCLED VENDING CARD •                                             1.80                     52.63
 03/20/2018 2523553                       475               Txn Id V769554 Order No VEN RECYCLED VENDING CARD                                              1.85                     54 48
 03/20/2018 2523553                  :475                   Txn Id V769644 Order No VEN RECYCLED VENDING CARD                                             1.95                      56.43
                                                                                                                                               __     _ _           _ ___
 03/24/2018 ' 2523553                     100              'CARMEN SWELL CA C0573689 EXP 10/21/18                                                       200.00                    256.43
                                                                                                              __ _                        __        _ _                           _ _ ___
 03/26/2018 2523553                       SALE              Txn Id 307985821 Order No 107119 Charge for regular order                                 <132.21>                    124.22
                                                            107119348
 03/28/2018 2523553                       RTRN              Txn Id 307989817 Order No 107119 Refund for regular order                                      7.48                   131.70
                                                            107119348
 04/02/2018 ' 2523553                     SALE              Txn Id 307995747 Order No 107129 Charge for regular order                                <114.85>                       16.85
                                                            107129374
 04/03/2018 , 2523553                :475                   Txn Id V772580 Order No VEN RECYCLED VENDING CARD                                              1.75                     18.60
 04/07/2018 ' 2523553 -                   100               CARMEN SWELL CA C0573689 EXP 10/21/18                                                        150.00                  168.60
 04/09/2018 2523553                       SALE                Txn Id 308005565 Order No 1.07139 Charge for regular order                            <126.53>                       42.07
__ __ _ _ _  __  __              _                         '. 107139289                                    __          __                                                     __ _. . _.
 04/12/2018 2523553                  :475                  ' Txn Id V776943 Order No VEN RECYCLE VENDCARD                                                  1.95                  44.02
                                                             POSTING
 04/12/2018 2523553                  .475                   Txn Id V776944 Order No VEN RECYCLE VENDCARD                                                   2.35                    46.37
                                                            POSTING                                                                                                                           '.
 04/12/2018 2523553                   475                   Txn Id V777671 Order No VEN RECYCLE VENDCARD                                                   2.35                    48.72
                                                            POSTING
04/12/2018 ', 2523553                 475                   Txn Id V777716 Order No VEN RECYCLE VENDCARD                                                   1.80                    50.52
                                                            POSTING
j 04/12/2018 ' 2523553                475                   Txn Id V780907 Order No VEN RECYCLE VENDCARD                                                   1.80                    52.32
                                                            POSTING
04/12/2018 2523553                    475                    Txn Id V780909 Order No VEN RECYCLE VENDCARD                                                  2.05                    54.37
                                                           I POSTING
04/16/2018 ' 2523553                 'SALE                  Txn Id 308015562 Order No 107149 Charge for regular-order                                <39.20>                       15.17
                                                            107149217
04/17/2018 ' 2523553                  475                  Txn Id V783811 Order No VEN RECYCLED VENDING CARD                                               1.95                    17.12
0 /21/2018 2523553                    100                  CARMEN SWELL CA C0573689 EXP 10/21/18                                                         150.00                 167.12
                                                                                     __ .   _    __                         _
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                                                                  " LASD JAIL INFORMATION MGMT SYSTEM (DIMS)                                                                            OTRTASTA
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  ~~+~ ~~~                 0002060087                             NAME;          EWELL       ,JOHN       WESLEY                            QOB:              02/25/1957
  FACILITY:                CJ-5900-R-0039

  ACCOUNT BALANCES TQ~"~kL:                                                  $ 25.59             ~URR~I~~":               $ 25.59          F90LD:                        ~ $ 0.00



  a,43~              '~OC3KI~l{~ t~t~             ~''Y'~'~             `~'RA,~9a~~GTl~}i~ C3~a~~~~~9~?                                    T~~P~aA~~'E~id A~il7                               EtA,LtS~S~~
  04/23/2018 2523553                              SALE                 Txn Id 308025390 Order No 107159 Charge for regular order                         <140.54>                                      26.58
                                                                       107159121
  04/24/2018 2523553                              475                  Txn Id V784401 Order No VEN RECYCLED VENDING CARD                                        1.85                                   28.43
 04/24/2018 ' 2523553                            ! 475                 Txn Id V784402 Order No VEN RECYCLED VENDING -CARD                                       1.80                                   30.23
 04/24/2018 2523553                               475                  Txn id V784877 Order No VEN RECYCLED VENDING CARD                                        1.95                                  ~ 32.48
 04/24/2018 2523553                               475                 Txn Id V784878 Order No VEN RECYCLED VENDING CARD                                         1.95 :                                 34.13
 04/24/201 S 2523553                             :475                 Txn Id V785140 Order No VEN RECYCLED VENDrNG CARD                                         1.80                                   35.93
 04/24/2018 2523553                               475                 Txn Id V787877 Order No VEN RECYCLED VENDING CARD                                        2.10                                    38.03
                                                                                                                                                                                                  _        __
 04/24/2018 2523553.                              475                 Txn Id V787903 Order No VEN RECYCLED VENDING CARD                                        1.85                                    39.88
 04/30/2018 2523553                               SALE                Txn Id 308035602 Order No 107169 Charge for regular order                              <12.50>                                   22.38
                                                                      107169343                        __
                                                                                          __
  05/02/2018 2523553                              100                 Jacques cain ca dl c1331068 exp 11h4/18                                                 20.00                                47.38
 ___   _ __        _ __              __           _ __                                                              _                                                                                  ___ _.
                                                                                                                                             __
  05/05/2018 2523553                              100                 CARMEN EWELL CA C0573689 EXP 10/21/18                                                  175.00                               222.38
                      _                          __ .                                                         _. _ _.        _
 05/07/2018 ; 2523553                             SALE                Txn Id 308045965 Order No 107179 Charge for regular order                         <143.97>                                      78.41
                                                                      107179491
 05/14/2018 2523553                              SALE                 Txn Id 308056016 Order No 107189 Charge for regular order                              <70.12>                                    8.29
                                                                      107189547
 05/15/2018 2523553                              475                  Txn Id V792008 Order No VEN RECYCLED VENDING CARD                                        1.90                                   10.19
 05/15/2018 2523553                              475                  Txn Id V792009 Order No VEN RECYCLED VENDING CARD                                        2.35                                   12.54-
 05/15/2018 2523553              ~               475                  Txn Id V792235 Order No VEN RECYCLED VENDING CARD                                        2.10                                   14.64
 05/15/2018 ' 2523553                            475                  Txn Id V792569 Order No VEN RECYCLED VENDING CARD                                        1.85                                   16.49
 05/15/2018 2523553                         :475                      Txn Id V793451 Order No VEN RECYCLED VENDING CARD                                        1.75                                   18.24
 05/15/2018 2523553                              475                  Txn Id V795877 Order No VEN RECYCLED VENDING CARD                                        1.80                                   20.04
 05/15/2018 2523553                              475                  Txn Id V799008 Order No VEN RECYCLED VENDING -CARD                                       1.75                                   21.79
 05/15/2018 2523553                              475                Txn Id V799009 Order No VEN RECYCLED VENDING CARD                                          1.95                                   23.74
                                                                                                 _ _ . __   __                                          __                          __
 05/19/2018 2523553                              100              ' CARMEN EWELL CA C0573689 EXP 10/21/18                                                 150.00                                  173.74
                                                                                                                                                              _ _
05/21/2018 ' 2523553                             SALE                 Txn Id 308066184 Order No 107199 Charge for regular order       '                 <151.02>                                      22.72
                                                                      107199925
1 05/22/2018 2523553                             475              ; Txn Id V801057 Order No VEN RECYCLED VENDING CARD                                          1.75                                   24.47
05/29/2018 2523553                               SALE              Txn Id 308076292 Order No 107209'Charge for regular order                             <21.42>                                       3.05
                                                                   107209962.
05/29/2018 2523553                               475               Txn Id V802887 Order No VEN RECYCLED VENDING CARD                                           1.95                                    5.00
05/29/2018 ' 2523553                        ' 475                  Txn Id V803219 Order No VEN RECYCLED VENDING CARD                                           1.80                                    6.80
05/29/2018 2523553                         :475                   Txn Id V803223 Order No VEN RECYCLED VENDING CARD                                           2.15                                     8.95
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  07/19/2018 11:41:16                                    Los Angeles County Sheriffs Department                                              PAGE :            05 OF 06 ':
                                                 LASD JAIL INFORMATION MGMT SYSTEM (JIMS)                                                                      OTRTASTA
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 Main I0:           0002060087              NAME;         EWELL          ,JOHN        WESLEY                               GC?B:            02/25/1957
 ~ACILlTY:          CJ-5900-R-0039

 ACCQU~17 BALA~tCES TOi"AL:                           $ 25.59                 ~UR9~~N~":           $ 25.59                 HC3~.D:                        $ 0.00



 ,SATE        ~~C7~i~tl~~a I~~?     7"Y~~        l'F~A~'~I~A~T1~1N~ [~   ~f~14~7'1~                                       ~'~A61i~A~T'1C3id ~8UlY'                    ~,d~~:l~~+I
 06/02/2018 ; 2523553               100          CARMEN EWELL CA C0573689 EXP 10/21/18                                                       175.00                       183.95
 06/04/2018 ' 2523553             'SALE         Txn Id 308085924 Order No 107220 Charge for regular order                                  <159.89>                         24.06
                                             ' .107220060
 06/05/2018 2523553                 100          Jacques cain cadl c1331068 11142018                                                          20.00                         44.06
 06/05/2018 2523553                ' 475         Txn Id V806314 Order No VEN RECYCLED VENDING CARD                                             2.15                         46.21
i 06/05/2018 ' 2523553              475      ! Txn Id V808479 Order No VEN RECYCLED VENDING CARD                                               1.80                         48.01
 06/05/2018 2523553                 475          Txn Id V808782 Order No VEN RECYCLED VENDING CARD                                             1.80                         49.81
 06/05/2018 2523553                 475          Txn Id V808804 Order No VEN RECYCLED VENDING CARD                                             2.10                         51.91
 06/09/2018 2523553                 100          ALEJANDRO SANDOVAL CADL: A5632508 EXP: 06/21/2020                '                          100.00                       151.91
06/11/2018 2523553                  SALE         Txn Id 308095853 Order No 107229 Charge for regular order                                 <151.33>                          0.58
                                                 107229940
06/16/2018 ` 2523553                100          carmen ewell cdl c0573689 exp 10/21/2018                                                    175.00                       175.58
                                                                                                                              __                  _       __              _    _ _
06/18/2018 2523553                 i SALE   ' Txn Id 308106364 Order No 107243 Charge for regular order                                    <151.21>                         24.37
                                              107243010
06/19/2018 ' 2523553               475           Txn id 1/810930 Order No VEN RECYCLE VENDCARD                                                 1.85                        26.22
                                                 POSTING
06/20/2018 2523553                  RTRN         Txn Id 308110556 Order No 107243 Refund for regular order                                     7.04                        33.26
                                                 107243010
06/23/2018 2523553                  100          N DURAN F5226354 EXP.02/05/2019                                                              50.00                       83.26
                                                                                                             __                    __           __ _       _           __ _
 06/25/2018 2523553                SALE          Txn Id 308116125 Order No 107252 Charge for regular order                                  <82.50>                         0.76
__ _._                                           107252906
06/26/2018 2523553                 475           Txn Id V814856 Order No VEN RECYCLED VENDING CARD                                             1.75                          2.51.
06/26/2018 2523553                 475           Txn Id V815475 Order No VEN RECYCLED VENDING CARD                                             1.80                          4.31
06/30/2018 2523553                 100      'Carmen Ewell CA DL#C0573689 Exp. 10/21/18                                                      200.00                       204.31
07/02/2018 ' 2523553               SALE         Txn Id 308125975 Order No 107262 Charge for regular order                                  <190.20>                        14.11
__                                          .....107262961
07/03/2018 ; 2523553              ! 475      Txn Id V817527 Order No VEN RECYCLED VENDING CARD                                                2.35                         16.46
07/03/2018 2523553                i 475      Txn Id V817530 Order No VEN RECYCLED VENDING CARD                                                2.10                         18.56
07/03/2018 ' 2523553               475       Txn Id V817742 Order No VEN RECYCLED VENDING CARD                                                1.75                         20.31
07/09/2018 2523553                !SALE      Txn Id 308135410 Order No 107272 Charge for regular order                                     <19.10>                          1.21
                                             107272697
07/10/2018 ° 2523553              ' 475     i 7xn Id V822399 Order No VEN RECYCLED VENDING CARD                       ~                       1.80 '                        3.01
07/10/2018 2523553                 475       Txn Id V822402 Order No VEN RECYCLED VENDING CARD.                                               1.80                          4.81
07/10/2018 ' 2523553              ! 475     ! Txn Id V822481 Order No VEN RECYCLED VENDING CARD                                               2.30 .                        7.11
07/10/2018 2523553                 475      ' Txn Id V822664 Order No VEN RECYCLED VENDING CARD                                               1.85                          8.96
07/13/2018 2523553                 100      'Carmen Ewell CA DL#C0573689 Exp. 10/21/18                                                      125.0'0                     133.96
                  Case 2:19-cv-00057-UA Document 1 Filed 01/03/19 Page 8 of 10 Page ID #:8


 10711912018 11:41:16                                       Los Angeles County Sheriffs Department                             PAGE :      06 OF     06
                                                 LASD JAIL, INFORMATION MGMT SYSTEM (JIMS)                                                 OTRTASTA
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i Main ID:               0002060087            ~lANiE:          EWELL         ,JOHN     WESLEY                    QOB:        02/25/1957
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07/16/2018 2523553                    SALE       Txn Id 308143718 Order No 107280 Charge for regular order                  <108.37>               25.59
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  Case 2:19-cv-00057-UA Document 1 Filed 01/03/19 Page 9 of 10 Page ID #:9




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